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    1
                               UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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    4   MEGAN SCHMITT, DEANA                        Case No. 8:17-cv-01397-JVS-JDE
        REILLY, CAROL ORLOWSKY, and                 ]
    5   STEPHANIE MILLER BRUN,                      [PROPOSED] ORDER GRANTING
        individually and on behalf of               PLAINTIFFS’ EX PARTE
    6   themselves and all others similarly         APPLICATION TO STAY THE CASE
        situated,                                   AND MOTION FOR DISCOVERY
    7                                               SANCTIONS
                      Plaintiffs,
    8
               v.
    9                                               Complaint Filed: 8/17/17
        YOUNIQUE, LLC,                              Trial Date: 2/19/19
   10
                      Defendant.
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              The Court, having considered Plaintiff’s Ex Parte Application to Stay the

   15 Case and Motion for Discovery Sanctions, hereby issues the following order:

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        IT IS HEREBY ORDERED:
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   18         The case is hereby stayed. Defendant will produce appropriate witnesses to

   19 testify to the topics in Plaintiffs’ June 4, 2018 Notice of Deposition within seven

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        days of this Order at a date and time of Plaintiffs’ choosing. Plaintiffs motion for
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   22 Rule 37 sanctions is hereby granted.

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           PROPOSED ORDER GRANTING PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND
                                MOTION FOR DISCOVERY SANCTIONS
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    1 Dated ____________, 2018

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                                           ___________________________________
    4                                           HON JAMES V. SELNA
    5                                      UNITED STATES DISTRICT JUDGE

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         PROPOSED ORDER GRANTING PLAINTIFFS’ EX PARTE APPLICATION TO STAY THE CASE AND
                              MOTION FOR DISCOVERY SANCTIONS
